   1   JOAN M. GRIMES, ESQ.
       State Bar No. 121502
   2   1600 S. Main Street, Suite 100
       Walnut Creek, CA 94596
   3   (925) 323-7772 Phone
       (925) 407-8373 Fax
   4
       Attorney for Debtors
   5

   6
                                 UNITED STATES BANKRUPTCY COURT
   7
                                 NORTHERN DISTRICT OF CALIFORNIA
   8
                                            OAKLAND DIVISION
   9

  10
                                                         ) Case No.   13-41687-CN-13
  11                                                     )
                                                         ) Chapter 13
  12                                                     )
       Eric Robert Green                                 ) PROOF OF SERVICE
  13   Kathryn Kaye Green,                               )
                                                         )
  14                  Debtors.                           )
                                                         )
  15                                                     )
                                                         )
  16

  17
              I am employed in the County of Contra Costa, California. I am over the age of eighteen
  18
       (18) years old and I am not a party to this action. My business address is: Law Office of Joan
  19
       M. Grimes, 1600 S. Main Street, Suite 100, Walnut Creek, CA 94596
  20
              On May 1, 2018 copies of the enclosed document(s):
  21
              1.      Opportunity for Hearing on Motion to Value Collateral of Wells Fargo Bank, NA
  22
                      as Successor in Interest to Wachovia as Successor in Interest to World Savings
  23
                      Bank (Second Deed of Trust) under § 506 and FRBP 3012
  24
              2.      Proposed Final Order on Motion to Value Collateral of Wells Fargo Bank, NA as
  25
                      Successor in Interest to Wachovia as Successor in Interest to World Savings Bank
  26
                      (Second Deed of Trust) under § 506 and FRBP 3012
  27
       are being served on the following parties by placing a true copy thereof in a sealed envelope(s),
  28
       PROOF OF SERVICE                                                                              Page 1

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                                               3
   1
       addressed as follows with all envelopes addressed to the authorized agent of process for:
   2
       VIA CERTIFIED MAIL
   3   Wells Fargo Bank, NA
   4   Attn: Officer
       101 N Phillips Ave
   5   Sioux Falls, SD
       57104
   6
       VIA US MAIL
   7   Request for Special Notice
       Capital One, NA
   8   Bass & Associates, PC
       3936 E. Ft. Lowell Road, Suite 200
   9   Tucson, AZ 85712

  10   Request for Special Notice
       PITE DUNCAN, LLP
  11   4375 Jutland Drive, Suite 200
       P.O. Box 17933
  12   San Diego, CA 92177-0933

  13   VIA ECF
       Chapter 13 Trustee
  14   Martha G. Bronitsky
       PO Box 5004
  15   Hayward, CA 84540-5004
  16
       VIA ECF
  17   United States Trustee, Region 17
       Office of the United States Trustee
  18   450 Golden Gate Avenue
       5th Floor, Suite 05-0153
  19   San Francisco, CA 94102
  20

  21           [X]      (BY MAIL) As indicated above, by placing said envelope(s) with postage
       thereon fully prepaid for first-class mail, for collection and mailing at my place of business
  22   following ordinary business practice. I am readily familiar with the ordinary business practice
       for the collection and processing of mail. In the ordinary course of business, mail is deposited
  23   with the United States Postal Service on the same day as it is placed for collection.

  24           [X]      (BY CERTIFIED MAIL) As indicated above, by placing said envelope(s) with
       postage thereon fully prepaid for certified mail, for collection and mailing at my place of
  25   business following ordinary business practice. I am readily familiar with the ordinary business
       practice for the collection and processing of mail. In the ordinary course of business, mail is
  26   deposited with the United States Postal Service on the same day as it is placed for collection.

  27           [X]      (BY ECF) As indicated above, by causing said document(s) to be transmitted
       electronically through the ECF filing system.
  28
       PROOF OF SERVICE                                                                              Page 2

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                                                3
   1           I declare under penalty of perjury under the laws of the United States that the foregoing is
       true and correct. Executed May 1, 2018 at Walnut Creek, California.
   2

   3
                                                     /s/ Lauren Roozee
   4                                                 Lauren Roozee

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       PROOF OF SERVICE                                                                               Page 3

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                                               3
